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                     IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION



 ERICSSON INC., and
 TELEFONAKTIEBOLAGET LM                        Case No. 2:14-cv-667-JRG-RSP
 ERICSSON,

                     Plaintiffs,

         v.

 TCL COMMUNICATIONS TECHNOLOGY
 HOLDINGS LTD.,
 TCT MOBILE LIMITED, and
 TCT MOBILE (US), INC.,

                     Defendants.




              DECLARATION OF MATTHEW W. HOLDER IN SUPPORT OF
                DEFENDANTS’ MOTION TO TRANSFER THIS CASE TO
                   THE UNITED STATES DISTRICT COURT FOR
                    THE CENTRAL DISTRICT OF CALIFORNIA




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                    I, Matthew W. Holder, declare as follows:

                    1.     I am an attorney at law duly licensed and admitted to practice in the State

 of California, and I have been admitted to appear in this action pro hac vice. I am a partner at

 the law firm of Sheppard Mullin Richter & Hampton, LLP (“Sheppard Mullin”), attorneys of

 record for defendants TCL Communications Technology Holdings, Ltd., TCT Mobile Limited,

 and TCT Mobile (US), Inc. (collectively, “TCL” or “Defendants”) in this action. I am also

 counsel of record for TCL in the matter of TCL Communication Technology Holdings, Ltd. v.

 Telefonaktiebolaget LM, Ericsson and Ericsson, Inc., Case 8:14-cv-00341-JVS-AN, which is

 pending in the Central District of California, Santa Ana Division, before the Honorable Judge

 James V. Selna (referred to herein as the “California action” and the “California Court,”

 respectively). I respectfully submit this declaration in support of Defendants’ motion to transfer

 this case to the Central District of California based on the “first-to-file” rule. Except where

 indicated, I have personal knowledge of the facts stated in this declaration, and if called as a

 witness I could and would testify thereto.

                    2.     Based on my research of publicly available sources of information,

 including Ericsson’s website and other resources on the internet, I am informed and believe that

 Ericsson has operations in cities throughout California, including Newport Beach and Santa Ana

 (both located in the Central District of California), and has also posted numerous job openings in

 California cities. A true and correct copy of a report from Hoovers showing the addresses of

 Ericsson’s business locations is attached hereto as Exhibit 1, and a true and correct copy of a

 page from Ericsson’s website displaying 25 of 185 job openings in California, as of August 7,

 2014, is attached hereto as Exhibit 2. In addition, Ericsson recently announced construction of a

 new campus in Santa Clara that “includes more than 400,000 square feet of operational space” to

 build on its “growing investments in Silicon Valley,” and to bring together “approximately 2,000

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 Ericsson staff dedicated to research and development in IP, TV and Media, SDN, NFV and

 mobile innovation.” A true and correct copy of Ericsson’s May 28, 2014 press release to this

 effect is attached hereto as Exhibit 3.

                    3.   In 2007, a subsidiary of TCL signed a patent license agreement for certain

 of Ericsson’s alleged SEPs. That license expired on or about March 7, 2014. The anticipated

 expiration of that license is why TCL filed its lawsuit against Ericsson in California on March 5,

 2014 (i.e., two days before the license expired).

                    4.   The California action is ongoing. For example, beginning in May 2014,

 and continuing through the present, counsel for the parties have had several meet and confer

 discussions under Federal Rule of Civil Procedure 26(f). On May 29, 2014, Sheppard Mullin

 sent a draft Rule 26(f) report for the California action to counsel for Ericsson. Also, on August

 7, 2014, Sheppard Mullin sent a draft stipulated protective order to counsel for Ericsson. In

 addition, on June 6, 2014, TCL served interrogatories and document requests on Ericsson in the

 California action. On August 5, 2014, Ericsson responded by promising to provide the requested

 information and documents once a protective order is finalized.

                    5.   On July 31, 2014, counsel for Ericsson forwarded to counsel for TCL a

 letter sent by John Han, Ericsson’s Vice President of Licensing, to Harry Au at TCL. A true and

 correct copy of this letter is attached hereto as Exhibit 4. In this letter, Ericsson confirms that it

 “remains willing to have the California Court determine the terms and conditions of a FRAND

 license between our companies.”

                    6.   Attached hereto as Exhibit 5 is a true and correct copy of a printout from

 a search performed on PACER on August 7, 2014. The search was for the name “Ericsson,

 Inc.,” as a party in any cases pending within the Ninth Circuit. Through this search, we

 identified 11 cases in the Northern District of California, 12 cases in the Central District of

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 California, one case in the Eastern District of California, and six cases in the Southern District of

 California. In all of these cases, Ericsson, Inc. is or was a party.

                    I declare under penalty of perjury under the laws of the United States of America

 that the foregoing is true and correct, and that I executed this declaration on August 15, 2014, at

 San Diego, California.

                                                          /s/ Matthew W. Holder
                                                          MATTHEW W. HOLDER




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